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                          UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MASSACHUSETTS


____________________________________
                                              )
New England Sports Network, L.P.              )
                                              )                        1:22-cv-10024-MJJ

               Plaintiff, v.        )
                                    )
Alley Interactive LLC (CT) et al    )
                                    )
              Defendant
____________________________________)



                                          JUDGMENT

                                          April 24, 2025

Joun, D.J.


       In accordance with the Court’s Order entered and dated April 24, 2025, it is hereby
ORDERED for these reasons, Plaintiff’s Motion for Summary Judgment is GRANTED.
Judgment shall enter in favor of Plaintiff on all counts, for a sum certain of $575,000.




                                                      /s/ Myong J. Joun
                                                      Myong J. Joun
                                                      United States District Judge
